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FoR THE wEsTERN DISTRICT oF TENNESSEE
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Wb C:‘ii 311;§_ H!§;gg,g(‘mr
DOUGLAS TINDALL,
Plaintiff,
VS. NO. 05-2264-Ml/P
SHELBY COUNTY, Et Ell . ,

Defendants.

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ORDER CORRECTING THE DOCKET
ORDER ASSESSING $250 FILING FEE
ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

Plaintiff Douglas Tindall, RNI number 72879, an inmate at
the Shelby County Detention Center (“SCDC”)l in Memphis, filed a prg
§§ complaint pursuant to 42 U.S.C. § 1983 on April S, 2005, in
connection with his previous confinement at the Shelby County
Criminal Justice Complex (“Jail”). The Court issued an order on
April 25, 2005, directing the Plaintiff, within thirty days, to
comply with the Prison Litigation Reform Act of 1995 (“PLRA”), 28
U.S.C. §§ lQlS(a)~(b), or pay the $250 civil filing fee. Plaintiff

submitted the appropriate documentation on May 20, 2005. The Clerk

 

1 The word “prison” is used in this order to refer to all places of

confinement or incarceration, including jails, penal farms, detention and
classification facilities, or halfway houses.

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With Rule 58 and/or 79(3) FHCP on 2 |

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shall record. the Defendants as Shelby' County2 and. Correctional
Medical Services, Inc.
I. Assessment of Filing Fee

Under the Prison Litigation Reform Act of 1995 (“PLRA”).
28 U.S.C. § 1915(b), all prisoners bringing a civil action must pay
the full filing fee of $250 required by 28 U.S.C. § 1914(a).3 The pp
fppma pauperis statute, 28 U S.C. § 1915(a), merely provides the
prisoner the opportunity to make a “downpayment” of a partial filing
fee and pay the remainder in installments.

In this case, Plaintiff has properly completed and
submitted both an ip fp;pa pauperis affidavit and a trust fund
account statement. Pursuant to 28 U.S.C. § 1915(b)(l), it is ORDERED
that the Plaintiff cooperate fully with prison officials in carrying
out this order. It is further ORDERED that the trust fund officer at
Plaintiff’s prison shall calculate a partial initial filing fee
equal to twenty percent (20%) of the greater of the average balance
in or deposits to the Plaintiff’s trust fund account for the six
months immediately preceding the completion of the affidavit. When
the account contains any funds, the trust fund officer shall collect
them and pay them directly to the Clerk of Court. If the funds in

Plaintiff's account are insufficient to pay the full amount of the

 

2 The Court construes the Plaintiff’s allegations concerning 201 Poplar

Avenue, the address of the Jailr as an attempt to assert a claim against Shelby
County.

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Effective March 7, 2005, the civil filing fee increased to $250 from

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initial partial filing fee, the prison official is instructed to
withdraw all of the funds in the Plaintiff’s account and forward
them to the Clerk of Court. On each occasion. that funds are
subsequently credited to Plaintiff's account the prison official
shall immediately withdraw those funds and forward them to the Clerk
of Court, until the initial partial filing fee is paid in full.

lt is further ORDERED that after the initial partial
filing fee is fully paidr the trust fund officer shall withdraw from
the Plaintiff's account and pay to the Clerk of this Court monthly
payments equal to twenty percent (20%) of all deposits credited to
Plaintiff's account during the preceding month, but only when the
amount in the account exceeds $l0.00, until the entire $250.00
filing fee is paid.

Each time that the trust fund officer makes a payment to
the Court as required by this order, he shall print a copy of the
prisoner’s account statement showing all activity in the account
since the last payment under this order and file it with the Clerk
along with the payment.

All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of
Tennessee, 167 N. Main, Room 242, Memphis, TN 38103

and shall clearly identify Plaintiff's name and the case number on
the first page of this order.
If Plaintiff is transferred to aa different prison or

released, he is ORDERED to notify the Court immediately of his

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change of address. If still confined he shall provide the officials
at the new prison with a copy of this order.

If the Plaintiff fails to abide by these or any other
requirements of this order, the Court may impose appropriate
sanctions, including a monetary fine, without any additional notice
or hearing by the Court.

The Clerk shall mail a copy of this order to the prison
official in charge of prison trust fund accounts at Plaintiff's
prison. The Clerk is further ORDERED to forward a copy of this order
to the Director of the SCDC to ensure that the custodian of the
Plaintiff’s inmate trust fund account complies with that portion of
the PLRA pertaining to the payment of filing fees.

The obligation to pay this filing fee shall continue
despite the immediate dismissal of this case. 28 U.S.C. §
1915(e)(2). The Clerk shall not issue process or serve any papers in
this case.

II. Analysis of Plaintiff's Claims

The complaint alleges that, on May 15, 2004, Plaintiff
went to the medic complaining of chest pain. The nurse on duty
checked his vital signs and sent him back to his housing area. A few
minutes later, the Plaintiff could not breathe so prison officials
called a code white. Plaintiff was returned to the medical unit,
where the nurse gave him something for gas and returned him to his

cell. According to the complaintr “Now i [sic] keep on tell [sic]

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them i couldn*t breve [sic] but they just sent me back to the annex
J pod. This happen for three days.”

The plaintiff seeks monetary compensation and the firing
of the nurses who failed to provide appropriate medical care.

The Sixth Circuit has held that 42 U.S.C. § 1997e(a)
requires a federal court to dismiss a complaint without prejudice
whenever a prisoner brings a prison conditions claim without
demonstrating that he has exhausted his administrative remedies.
Brown v. Toombs, 139 F.3d 1102 (6th Cir. 1998); ppg Porter v.
Nussle, 534 U.S. 516, 532 (2002) (“[T]he PLRA's exhaustion
requirement applies to all inmate suits about prison life, whether
they involve general circumstances or particular episodes, and
whether they allege excessive force or some other wrong.”); Booth v.
Churner, 532 U.S. 731 (2001) (prisoner seeking only money damages
must exhaust administrative remedies although damages are
unavailable through grievance system). This requirement places an
affirmative burden on prisoners of pleading particular facts
demonstrating the complete exhaustion of claims. Knuckles El v.
Toombs, 215 F.3d 640, 642 (6th Cir. 2000). To comply with the
mandates of 42 U.S.C. § 1997e(a),

a prisoner must plead his claims with specificity and show
that they have been exhausted by attaching a copy of the
applicable administrative dispositions to the complaint
or, in the absence of written documentation, describe with
specificity the administrative proceeding and its outcome.
;dp at 642; see also Boyd v. Corrections Corp. of Am., 380 F.3d 989,
995-96 (6th Cir. 2004) (describing the standard for demonstrating

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exhaustion when prison officials fail to respond in a timely manner
to a grievance), cert. denied, 125 S. Ct. 1639 (2005); Baxter v.
Bp§p, 305 F.3d 486 (6th Cir. 2002) (prisoner who fails to allege
exhaustion adequately may not amend his complaint to avoid a ppg
sponte dismissal); Curry v. Scott, 249 F.3d 493, 503-04 (6th Cir.
2001) (no abuse of discretion for district court to dismiss for
failure to exhaust when plaintiffs did not submit documents showing
complete exhaustion of their claims or otherwise demonstrate
exhaustion). Furthermore, § 1997(e) requires the prisoner to exhaust
his administrative remedies before filing suit and, therefore, he
cannot exhaust these remedies during the pendency of the action.
Freeman v. Francis, 196 F.3d 641, 645 (6th Cir. 1999). Finally, the
Sixth Circuit recently held that district courts are required to
dismiss a complaint in its entirety, pursuant to 42 U.S.C. §
1997e(a), that contains any unexhausted claims. Jones Bey v.
Johnson, No. 03»2331, 2005 WL 1120283, at *3-*6 (6th Cir. Apr. 27,
2005) (to be published in the Federal Reporter).

In this case, the Plaintiff has not satisfied the burden
of demonstrating that he exhausted his administrative remedies. The
Complaint alleges that he “{f]iled 7-10 grievances" and “the
Disposition Code was G on 8-30-04.” At the Jail, a disposition code
of “G” means only that the matter presented in the inmate grievance
is grievable. The Complaint does not set forth the response of the
grievance officer and does not allege that the Plaintiff appealed

any unfavorable disposition.

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The Sixth Circuit has stated that “[a] plaintiff who fails
to allege exhaustion of administrative remedies through
‘particularized averments' does not state a claim on which relief
may be granted, and his complaint must be dismissed ppg sponte.”
Baxter, 305 F.3d at 489.4 Accordingly, the Court DISMISSES the
Complaint in its entirety, without prejudice, pursuant to 42 U.S.C.
§ 1997e(a).

lll. Appeal Issues

The next issue to be addressed.is whether Plaintiff should
be allowed to appeal this decision ip ip;ma pauperis. Twenty-eight
U.S.C. § 1915(a)(3) provides that an appeal may not be taken ip
ipipa pauperis if the trial court certifies in writing that it is
not taken in good faith.

The good faith standard is an objective one. Coppedge v.
United States, 369 U.S. 438, 445 (1962). An appeal is not taken in
good faith if the issue presented is frivolous. idi Accordingly, it
would be inconsistent for a district court to determine that a
complaint should be dismissed prior to service on the defendants,
yet has sufficient merit to support an appeal ip ippma,pauperis. §§§
Williams v. Kullman, 722 F.2d 1048, 1050 n.l (2d Cir. 1983). The

same considerations that lead the Court to dismiss this case for

 

4 As the Sixth Circuit explained, “If the plaintiff has exhausted his
administrative remedies, he may always refile his complaint and plead exhaustion
with sufficient detail to meet our heightened pleading requirement, assuming that
the relevant statute of limitations has not run.” id__.

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failure to state a claim also compel the conclusion that an appeal
would not be taken in good faith.

It is therefore CERTIFIED, pursuant to 28 U.S.C. §
1915(a)(3), that any appeal in this matter by Plaintiff is not taken
in good faith and Plaintiff may not proceed on appeal ip ip;pa
pauperis.

The final matter to be addressed is the assessment of a
filing fee if Plaintiff appeals the dismissal of this case.5 In
McGore v. Wrigqlesworth, 114 F.3d 601, 610~11 (6th Cir. 1997), the
Sixth Circuit set out specific procedures for implementing the PLRA.
Therefore, the Plaintiff is instructed that if he wishes to take
advantage of the installment procedures for paying the appellate
filing fee, he must comply with the procedures set out in McGore and

§ 1915(b).

IT Is so 0RDERED this 60 day of June, 2005.

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JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

 

 

5 Effective November 1, 2003, the fee for docketing an appeal is $250.

See Judicial Conference Schedule of Fees, 1 l, Note following 28 U.S.C. § 1913.
Under 28 U.S.C. § 1917, a district court also charges a $5 fee:

Upon. the filing of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari $5
shall be paid to the clerk of the district court, by the appellant
or petitioner.

28 U.S.C. § 1917.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02264 Was distributed by fax, mail, or direct printing on
July ], 2005 to the parties listed.

 

Douglas Tindall
72879

1045 Mullins Station Rd.

Memphis7 TN 38134

Honorable J on McCalla
US DISTRICT COURT

